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                       Exhibit 8
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                             )
EXXON MOBIL CORPORATION,                     )
                                             )
                       Plaintiff,            )
                                             )
               v.                            )       Civil Action Nos. H-10-2386 (LHR)
                                             )                         H-11-1814 (LHR)
UNITED STATES OF AMERICA,                    )
                                             )
                       Defendant.            )
                                             )

                          DECLARATION OF JERE M. JOHNSON

       I, Jere M. Johnson, declare as follows:

       1.      I am over 18 years of age, and I am fully competent to make this declaration. I

reside at 306 Oak Haven Drive, Baytown, Texas 77520. I have personal knowledge of the facts

set forth in this declaration and am competent to testify to them if necessary. All of the facts

stated herein are true and correct.

       2.      I am a self-employed consultant on environmental issues related to the petroleum

industry. My primary area of expertise is petroleum refining, especially environmental matters

related to petroleum refining. I received my Bachelor of Science in Civil Engineering in 1960

and my Master of Science in Civil Engineering in 1964, both from the University of Arkansas in

Fayetteville, Arkansas. The Master of Science degree was entirely in the environmental aspects

of civil engineering (e.g., water and wastewater treatment, waste treatment and disposal). I have

over thirty-three years of experience in the petroleum industry.      This experience includes

technical, operational, and environmental, as well as staff and management positions. For

twenty-five of those years I was directly involved in environmental aspects of petroleum refining




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(e.g., wastewater treatment, solid and hazardous waste management, abatement of air emissions,

etc.).

         3.    I will be an expert witness for Exxon Mobil Corporation (“ExxonMobil”) in these

cases regarding historical and technical issues relating to the processing of crude oil and other

raw materials needed to manufacture 100-octane aviation gasoline (“avgas”) and other products,

and waste generation and disposal activities resulting from the production of these products at

ExxonMobil’s Baytown Complex and Baton Rouge Complex. On June 18, 2012 I completed an

expert report (“Expert Report”) and on December 20, 2012 I completed a rebuttal report

(“Rebuttal Report”).

         4.    I read the declaration prepared by Dr. James R. Kittrell and disagree with most of

the statements that he made in that declaration, and so I prepared this declaration to summarize

my rebuttal of those statements made by Dr. Kittrell.         My rebuttal concerns issues that I

examined in one or both of my prior reports, and so my rebuttal does not go beyond the scope of

those reports, although Dr. Kittrell raises two issues - integration and wastes v. byproducts - that

he did not address in his prior reports that I reviewed and rebutted.      Since I address several

issues that I dealt with in my prior reports, I incorporate by reference my Expert Report and my

Rebuttal Report into this sworn declaration.

         5.    I disagree for a number of reasons with Dr. Kittrell’s claim in his declaration that

the Plancors and the Baytown Ordnance Works (“BOW”) were not significantly integrated into

the waste processing facilities at the respective Baytown and Baton Rouge refineries. Dr. Kittrell

states that these plant operations were not integrated based on his view that the materials sent

from the Plancors and BOW to the refineries were really only “byproducts” rather than “wastes”

and were not “substantial contributors to the waste load at the Baytown and Baton Rouge




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Refineries.” Kittrell Declaration ¶ 4. To do this, Dr. Kittrell creates his own unique definition of

“byproducts” in which he assumes that if any oil was recovered from a wastewater stream and if

this oil had value, then it was not a waste but a byproduct. But his definition mischaracterizes

how these materials were managed as wastes when they were sent from the Plancors or the BOW

to one of the refineries. If his definition were followed, practically the entire oily wastewater

flows at both refineries would have been “byproducts” because these wastewater streams

contained oil, and some of the oil was recovered, processed through the slop oil systems and then

rerun in the refineries. Then, because Dr. Kittrell inaccurately categorizes these waste materials

as byproducts, he further concludes that they would not have been substantial contributors to the

waste generated and disposed of at the Sites. This obviously would be an absurd conclusion, but

it illustrates the flaw in Dr. Kittrell’s “byproduct” definition. Under his definition, a wastewater

stream containing recoverable amounts of oil would be classified as a byproduct and would not

be a substantial contributor to the waste loads at the two refineries. In my many years of refinery

experience, I have never heard of a “waste” or wastewater stream being defined as a “byproduct”

on this basis.

        6.       Based on his flawed definition, Dr. Kittrell inaccurately categorized as

“byproducts” a number of “wastes” that were generated at one of the Plancors or the BOW and

sent to the refinery for treatment or disposal, in an inaccurate attempt by Dr. Kittrell to suggest

that these plants were not integrated. So I have explained below why these materials are

“wastes” and not “byproducts” to illustrate how these plants were integrated to handle wastes.

             •   Waste Stream Containing Naphtha. Dr. Kittrell categorizes a wastewater stream
                 containing naphtha from Baytown’s Butyl Rubber Plancor as a “byproduct”
                 because it was sent back to the refinery for “recovery and reuse as a finished
                 product”. Kittrell Declaration ¶ 4.b.vii. This stream, however, was actually
                 floating material skimmed from the “oil polymer recovery basin” at the Plancor,
                 and while it contained some naphtha, it would have also included substantial



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           wastewater and other wastes, and was routed to the refinery’s slop oil system.
           Expert Rpt. 72. In the slop oil tanks, some of the naphtha would have been
           recovered but some of it would have remained in the wastewater, which would
           have been routed to the refinery’s separators and would have contributed to soil
           and groundwater contamination under and in the vicinity of the separators.

       •   Spent Acid Sludge. Dr. Kittrell categorizes spent acid sludge as a “byproduct”.
           While the acid sludge generated at the BOW was burned as fuel in the BOW
           boilerhouse, the acid treatment process generated wastes that entered the Baytown
           refinery’s sewer system and were treated in the refinery’s wastewater treatment
           system, thereby contributing to the waste materials in various historic waste units
           at the Baytown Site, and associated soil and groundwater contamination
           impacting the Site. In addition, the transfer of the acid sludge through the piping
           system would have resulted in spills and leaks of the acid sludge that would have
           also entered the refinery’s sewer system and waste treatment/disposal facilities.
           Expert Rpt. 64-65 and 73; Expert Rpt of A. J. Gravel 51.

       •   Spent Alumina Catalyst. Dr. Kittrell categorizes this waste as a “byproduct” but it
           was certainly disposed of in waste sites (i.e., solid waste management units
           (“SWMUs”)) at the Baytown Site. The catalyst would have been commingled
           with wastes that are now considered hazardous, and the cleanup work at these
           waste disposal sites would contribute to past and future cleanup costs at the Site.
           Expert Rpt. 69, 77 and 80.

       •   Wash Oil. “Wash oil” would be more accurately categorized as a “sponge oil”
           than a “byproduct” or a “waste material”; it contributed wastes that were sent
           from the BOW and integrated with waste managed at the refinery. The wash oil,
           after being used in the SO2 Plant unit of the BOW and passing through the Acid
           Treater, Caustic Wash, Hydrolyser, and Product Rerun Unit - all of which were
           part of the BOW - was then sent to unnamed units in the refinery, probably
           including tankage, fractionation, and other facilities to remove unwanted
           materials from the wash oil before it was returned to the BOW for reuse.
           However, there would have been wastes associated with the wash oil from leaks,
           spills, processing through acid treating, caustic washing, storage and
           fractionation, and these wastes would have entered the sewer system, would have
           been treated in the refinery’s wastewater treatment system, and would have
           contributed to the oily wastes disposed at the refinery. Expert Rpt. 24 and 64-74.

       •   Slop Oil. Dr. Kittrell’s statement that slop oil from the Baytown Butadiene Plant
           (Plancor 485) was a “byproduct” that did not contaminate the refinery site is
           inaccurate. The slop oil was sent to refinery slop oil tanks where some of the oil
           was removed and reprocessed in refinery units, but some of the oil would have
           remained in the wastewater associated with the slop oil and would have entered
           refinery earthen separators and contributed to the contamination associated with
           these separators. Expert Rpt. 113.



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           •   Quench Oil Emulsion. Dr. Kittrell acknowledges that the quench oil emulsion
               sent from the Baytown Butadiene Plant (Plancor 485) to the refinery was a waste,
               but his claim that this waste “did not appreciably contaminate the refinery site” is
               incorrect. Kittrell Declaration ¶ 4.b.v. This plant generated 740 gallons per
               minute (“gpm”) of this waste stream - an amount that equates to 1.07 million
               gallons per day - and consisted of a very stable emulsion of water and oil,
               containing 3,000 to 5,000 parts per million (“ppm”) of oil (i.e., 0.3 to 0.5% oil).
               This quench oil emulsion was sent to the refinery slop oil tanks where some of the
               oil would have been removed and reprocessed, but some of the oil would have
               remained in the wastewater associated with the quench oil emulsion and this oily
               wastewater (still amounting to approximately 1.07 million gallons per day) would
               have entered refinery earthen separators and contributed to the contamination
               associated with these separators. Expert Rpt. 70 and 113; Powell, Sheppard.
               Report to Reconstruction Finance Corporation on Industrial Wastes: RuR SR-10
               (July 26, 1946) 234 (BAYHIS-00006435).

           •   Steam Condensate. Dr. Kittrell neglects to mention that the “steam condensate”,
               which he inaccurately describes as “simply water,” contained 1% to 2% tertiary
               butyl alcohol. Kittrell Declaration ¶ 4.b.vi. Tertiary butyl alcohol was often
               referred to as TBA. This waste stream, which totaled 15 to 20 gpm, or about
               25,000 gallons per day, was pumped to the refinery where it was discharged
               through the refinery’s earthen separators and earthen outfall canal. The TBA
               would not have been removed and most of it would have been discharged, but
               some of the TBA would have contaminated the soils and groundwater underlying
               the separators and the Outfall Canals.         Powell, Sheppard. Report to
               Reconstruction Finance Corporation on Industrial Wastes: RuR SR-10 (July 26,
               1946) 234 (BAYHIS-00006435).

           •   Floating Rubber Polymer. Dr. Kittrell acknowledged that floating rubber polymer
               skimmed from the oil polymer recovery basin of the Baytown Butyl Rubber Plant
               (Plancor 1082) was sent to the “North Landfarm” for burning and disposal on the
               refinery site. Kittrell Declaration ¶ 4.b.ix. The North Landfarm was part of a 50-
               acre waste disposal facility (i.e., SWMU 62) located at the current site of the
               Main Office Building. A RCRA Facility Investigation has been completed for
               SWMU 62 and a Response Action Plan is in progress. Additional cleanup costs
               are likely to be incurred in the future. Expert Rpt. 89.

      7.       Related to this point also, I strongly disagree with Dr. Kittrell’s statement that

Plancor wastes are not a factor in remediation costs at Baytown and Baton Rouge. Kittrell

Declaration ¶ 6. As I discussed above, a number of Plancor-generated wastes entered the

refineries’ respective sewer systems, commingled with the refinery-related wastes, and

contributed to the contamination at the historic waste units and soil and groundwater



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contamination throughout much of the Sites that requires remediation. The Butadiene Plant

(Plancor 877) and Butyl Rubber Plant (Plancor 1082) at Baytown, and the Butadiene Plant

(Plancor 152) and the Butyl Rubber Plant (Plancor 572) at Baton Rouge, generated some

wastewater streams that were sent to the respective refinery and commingled with the refinery’s

wastewater stream. In addition, some solid wastes generated by the Butyl Rubber Plant at Baton

Rouge were burned and disposed of in the North Batture Burning Pit/Landfill (i.e., SWMU 33)

and were, in fact, commingled with refinery wastes, such as filter clays and tank bottoms. Expert

Rpt. 107. Other Plancors - the Hydrocodimer Plant (Plancor 1909) at Baytown and the Avgas

Blending Components Plant (Plancor 1068) and the Hydrogenation Plant (Plancor 1868) at

Baton Rouge - were located within the refineries’ petroleum products area and their wastes

would have entered the refinery’s sewer system for treatment and disposal in the refinery waste

processing facilities. Lastly, a number of Plancors at both Sites discharged most of their process

wastewaters directly into nearby surface waters (e.g., the Baytown Butyl Rubber, Butadiene and

Copolymer Plants discharged most of their process wastewaters into Scott’s Bay, and the Baton

Rouge Butyl Rubber, Butadiene and Catalyst Plants discharged most of the their process

wastewaters into Monte Sano Bayou). Expert Rpt. 26, 64-65, and 94-95.

       8.      I also strongly disagree with Dr. Kittrell’s initial suggestion itself that materials

which he identified as “byproducts” did not contribute to the refinery waste loads at all. Kittrell

Declaration ¶ 5. Although many of these wastewater streams contained some recoverable and

reuseable materials, these streams also contained significant amounts of materials in the

wastewater that either contaminated soil and groundwater or contained materials requiring

disposal at the Sites.   I have further described some examples below (in addition to my

comments in paragraph 6 above).




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       •   Hydrocodimer-Related Wastes. Dr. Kittrell’s statement that specific oily wastes,
           in particular, from the Baytown Hydrocodimer Plant (Plancor 1909) would have
           consisted of “small amounts of highly volatile codimer producing a sheen on the
           water” and would place only a de minimis waste load on the overall refinery
           wastewater system is also inaccurate. Kittrell Declaration ¶ 5.b. Oily wastewater
           generated by this Plancor would have entered the west branch of the central sewer
           system and would have been commingled with oily wastes from both upstream
           and downstream of this Plancor. This commingled wastewater was routed to
           Separator 10, and the oily waste would have contributed to the generation of
           separator sludge requiring disposal and to the contamination of the soil and
           groundwater in the vicinity of Separator 10 and at downstream impoundments and
           the Outfall Canals. Expert Rpt. 81.

               i. Dr. Kittrell’s statement that hydrocodimer is “highly volatile” (and the
                  implication that most of the hydrocodimer waste would have been highly
                  volatile and evaporated) is also inaccurate. Hydrocodimer, which is
                  essentially an iso-octane used to increase the octane level of the avgas, has
                  a boiling point of approximately 211o F and a vapor pressure of
                  approximately 0.8 psi at 70o F. In comparison, water has a boiling point of
                  212o F and a vapor pressure of approximately 0.4 psi at 70o F. In other
                  words, hydrocodimer is only slightly more volatile than water. In addition,
                  Dr. Kittrell provides no basis for the implication that the wastewaters
                  generated by the production of the hydrocodimer would have evaporated
                  into thin air. In fact, the plant’s sewer lines were configured to convey the
                  plant’s wastewater to the Baytown refinery’s wastewater processing
                  facilities. Gravel Expert Rpt. 57.

       •   TBA. Dr. Kittrell’s claim that the TBA waste would be highly subject to
           evaporation is inaccurate. TBA has a boiling point of 180o F and a vapor pressure
           of 0.6 pounds per square inch (“psi”) at 68o F, and would not be highly subject to
           evaporation.

       •   Plancor 1355 Wastes. Dr. Kittrell’s statement that the Baton Rouge Butadiene
           Conversion Plant (Plancor 1355) made only a de minimis waste contribution to
           the Baton Rouge refinery waste processing system is based on a number of
           inaccurate findings. Kitrell Declaration ¶ 5.c. This plant, which was located in
           the refinery itself, had a capacity of 18 to 20 short tons of butadiene per day, not
           18 to 20 short tons per year as Dr. Kittrell notes. The approximate capacity stated
           in the report cited by Dr. Kittrell was 18.8 short tons of recoverable butadiene per
           calendar day (i.e., 6,850 tons per year). In addition, the Baton Rouge crude
           capacity was approximately 120,000 B/D during WWII, not 170,000 B/D as Dr.
           Kittrell notes. Lastly, Dr. Kittrell’s conversion of the short tons of butadiene
           produced to equivalent crude oil barrels, and then comparison of this amount to
           the total crude oil barrels processed by the refinery is irrelevant because all of the
           crude oil processed contributed to the feedstocks used at this plant. Given this,
           the wastes attributable to Plancor 1355 should include a fair share of wastes


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               generated by the processing of the crude oil in the earliest stage of refinery
               operations that was necessary to provide the feed to Plancor 1355. Defense Plant
               Corporation. Engineer’s Final Report as of April 30, 1944 for Plancor 1355, Part
               C [BRHIS-00004377]; Expert Rpt. 39.

       9.      ExxonMobil has accurately characterized the contribution of the Baytown

Ordnance Works (“BOW”) to the overall generation of waste at the Baytown Site. Dr. Kittrell’s

statement that much of the BOW’s key raw material - naphtha - was from off-site sources is

based on the same erroneous findings and conclusions that he asserted in his August 2012 expert

report. Kittrell Declaration ¶ 7. I described in detail the inaccuracies in Dr. Kittrell’s findings

and conclusion in my Rebuttal Report. Reb. Rpt. 24-28. In summary, I determined that only 27

percent of the nitration-grade toluene produced at the BOW was derived from raw materials

obtained from other refineries. The remaining 73 percent of the nitration grade toluene was

derived from naphtha streams produced by the processing of crude oil, natural gasoline and

condensate at the Baytown refinery, and this latter processing was a major source of the waste

and contamination generated by the refinery operations. In addition, the BOW’s production

operations substantially contributed to this waste and contamination by generating wastewater

requiring treatment and disposal in the refinery’s waste processing facilities.

       10.     Dr. Kittrell’s attempt to discredit Sheppard Powell simply lacks any historical

support. Kittrell Declaration ¶ 8. Mr. Powell was retained by the U.S. Reconstruction Finance

Corporation (“RFC”) in 1946 to conduct inspections of the wastes and waste processing facilities

at the Government synthetic rubber Plancors shortly after WWII, and memorialize these

inspections in reports submitted to the RFC. The RFC apparently believed that Mr. Powell was

qualified for this work, and Dr. Kittrell points to no historical information suggesting that Mr.

Powell was not qualified to conduct this work.




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       11.     It is fully appropriate to take into account the effect of the waste reduction and

waste processing improvements that occurred at the Baytown and Baton Rouge refineries shortly

after WWII for the purpose of allocating waste-related remediation costs between ExxonMobil

and the Government. In his declaration Dr. Kittrell criticizes a number of the waste processing

factors used by expert allocator Richard White, Kittrell Declaration ¶¶ 9-12, but before

discussing why Dr. Kittrell’s criticisms are not valid, it makes sense to first explain why it is

appropriate to take into account these types of factors in the allocation of remediation costs at the

Sites. I found no historical information regarding any significant waste reduction improvements

implemented at the Sites during WWII, and this is understandable given that the Government

required that the materials and manpower of the refineries and other plants be devoted to

manufacturing avgas and other war products.          But shortly after the end of WWII when

Government controls ended, both refineries implemented extensive programs to improve

production efficiencies and waste processing facilities to reduce sludge, slop oils and other

wastes and also to reduce the oil content in the wastewaters. In my initial expert report, I

devoted entire sections to describing the numerous post-wartime production and waste

processing improvements at Baytown and Baton Rouge, and some of these improvements were

elimination of once-through cooling water to decrease the generation of silty, oil-laden waters;

segregation of the sanitary sewer system from the process wastewater sewer system to improve

separator efficiency; installation of pre-separators to remove substantial oils from the

wastewater; replacement or modernization of the primary separators to further improve oil

separation from the wastewaters; installation of piping systems to segregate and collect spent

caustics and other chemicals that tended to reduce the efficiency of the separators; installation of

hydrofining process units to replace acid treating and thereby reduce acid sludge generation;




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improved leak and spill detection and controls; and many other improvements. Expert Rpt. 110-

137.

       12.     While implementing the waste processing improvement programs, Humble and

Standard Oil compiled contemporaneous data regarding these programs’ effects on waste and oil

reduction. Taking Baytown as an example, the historical data included the following: (1)

between 1948 and 1951 Humble achieved a nearly 60% reduction in overall oil losses at the

refinery; (2) between 1947 and 1957 Humble achieved a 70% reduction in overall separator

sludge generation; (3) between 1948 and 1958 Humble achieved a 94% reduction in the oil

content in the wastewater effluent; (4) Humble achieved a 90% reduction in oil content in the

wastewater entering Separator 10 by the installation of three pre-separators and many waste

reduction steps throughout the complex during the period of 1951 to 1958; and (5) between 1947

and 1964 Humble achieved a 98.5% reduction in oil and other contaminants in the wastewater

effluent and projected an additional 70% improvement in the late 1960s through the installation

and use of aeration lagoons to further treat the wastewater. Rebuttal Rpt. 44-45 and 53-55;

Gravel Rpt. 96-97. The validity and reliability of this historical data is bolstered by the fact that

the data was only compiled internally by the company to monitor the effects of its waste

processing improvement program and so the company had no reason to manipulate the data

results, the data is internally consistent, and the trend of improving data over time correlates with

the implementation of additional waste processing improvements over time.

       13.     In my opinion, it is appropriate and reasonable for Mr. White to have used both

the 70% separator sludge reduction factor and the 90% oil reduction factor as independent and

supplementary factors for Baytown because these factors are accurate and supportable. The

historical information confirmed the validity of this data, expert Peter Gagnon confirmed the




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validity of using crude oil throughput adjusted for the impacts of processing efficiencies as a

surrogate for waste contribution over different time periods, and I concur with Mr. Gagnon’s

opinions from a refinery operations standpoint.        In fact, Mr. White’s use of these factors is

conservative because he certainly could have used more favorable data that was equally accurate

and supportable (e.g., the 98.5% oil reduction data was more favorable than the 90% oil

reduction data). These factors - 70% reduction in separator sludge generation and a 90%

reduction in oil in the wastewater - represent across-the-Site waste and oil contaminant reduction

resulting from the post-wartime waste processing improvements because sludge has always been

the predominant type of waste resulting from crude oil processing and oil has been the

predominant contaminant in the wastewaters generated by refinery operations. Therefore, I

believe that the conclusion that these factors reflect overall waste processing improvements at

the Baytown refinery is both reasonable and logical.

       14.     In addition, Dr. Kittrell did not raise any valid criticisms of these factors. Dr.

Kittrell provides no basis in support of his criticism of the 70% separator sludge reduction factor;

instead, he merely states that “Mr. White is incorrect when he states” that Humble achieved a

70% reduction in the amount of separator sludge generated at the Baytown refinery by 1957.

Kittrell Declaration ¶ 9. In a prior rebuttal report Dr. Kittrell suggested that both he and

Government allocator Matthew Low had made calculations that established that the 70% sludge

reduction figure was inaccurate. However, in my Rebuttal Report I detailed at length the

significant errors that Dr. Kittrell and Mr. Low had made in their calculations and, that once

these errors were corrected, the underlying historical data fully supported the 70% sludge

reduction factor. Rebuttal Rpt. 53-54. Mr. Low’s calculations, which Dr. Kittrell also relied

upon, are erroneous because Mr. Low apparently does not understand that “separator sludge” and




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“separator sediment” are not synonymous - “separator sediment” is dewatered “separator sludge”

- and if Mr. Low had properly accounted for the water content that is in “separator sludge” but is

not in “separator sediment” in his calculations, Mr. Low’s “corrected” calculations would have

fully supported the 70% separator sludge reduction figure.

       15.     Dr. Kittrell’s criticism of the 90% pre-separators oil reduction factor also is not

accurate. Kittrell Declaration ¶ 10. Dr. Kittrell suggests that the covered pre-separators were

only removing oil from the wastewaters that would have otherwise evaporated into the air in the

downstream, uncovered Separator 10. A simple illustration shows how illogical Dr. Kittrell’s

criticism is. If Dr. Kittrell is correct, then if you left a bucket of oily water outside in the open

air, 90% of the oil in the bucket would evaporate in a few hours. In addition, Dr. Kittrell ignores

all the other historical, contemporaneous data - that I listed above - that similarly confirmed at

least a 90% reduction to as much as a 98.5% reduction in oil in the wastewaters resulting from

numerous waste processing improvements. Rebuttal Rpt. 52-53.

       16.     Dr. Kittrell also criticizes what he refers to as the “multiplication” of the 70%

separator sludge reduction factor and the 90% oil reduction factor, but his criticism shows a lack

of understanding of the differences between the two factors and why their effects are cumulative.

Kittrell Declaration ¶ 11. The 70% factor indicates that the volume or amount of separator

sludge generated by the refinery operations therefore decreased by 70% after the implementation

of numerous waste reduction steps in the actual refinery operations. On the other hand, the 90%

factor indicates that the oil content in the wastewater was reduced by 90% after the

implementation of these waste processing improvements. The separator sludge has a very high

water content - wastewater content - and therefore, the cumulative effect of the waste processing

improvements was that the volume of sludge was reduced by 70% and the oil content in this




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sludge was reduced by a separate 90%. This combination of waste volume reduction and oil

content reduction translates to a cumulative waste reduction factor of approximately 97%. This

cumulative effect is further confirmed by the additional historical data that showed as much as a

98.5% reduction in oil and other contaminants in the wastewater after implementation of the

waste processing improvements. Rebuttal Rpt. 54-55.

       17.     Lastly, Dr. Kittrell criticizes the 60% waste improvement factor that was

employed by Mr. White with respect to the Baton Rouge Site, but this factor is also accurate and

supportable. Kittrell Declaration ¶ 12. I disagree with Dr. Kittrell’s suggestion that a 60%

reduction in separator slop oil at the Baton Rouge refinery would not directly result in any waste

reductions at the refinery. Reductions in separator slop are very relevant to waste material

reductions because the separator slop is the amount of oil recovered in the separators. As a

result, if post-wartime waste processing improvements resulted in a 60% reduction in separator

slop oil, then there would be a similar 60% reduction in the amount of oil in the wastewater

effluent sent through the separators. In addition, similar to Baytown, the Baton Rouge refinery

implemented an extensive waste processing improvements program after WWII that included

many of the same types of improvements, such as, for example, installation of a spent caustic

collection system, leak and spill controls and prevention, and an improved oil emulsion treating

system, to name a few. These types of waste processing improvements would have resulted in

waste volume reduction and oil content reductions in the wastewater, and the historical data

showing a 60% reduction in separator slop oil reduction confirms this. I therefore believe that

this factor should be used as a reasonable basis for the type of pollution reductions achieved

refinery-wide at Baton Rouge. Rebuttal Rpt. 55-56.




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